               Case 20-10343-LSS              Doc 8564-5         Filed 01/28/22         Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                          Chapter 11

    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                    Jointly Administered
                                      Debtors.



                                       CERTIFICATE OF SERVICE

                I, James E. O’Neill, hereby certify that on the 28th day of January, 2022, I caused
a copy of the following document(s) to be served on the individual(s) on the attached service
list(s) in the manner indicated:

                  Notice of Filing of Fee Application

                  First Monthly (Combined) Application of Mark H. Kolman, as Expert
                  Consultant on Insurance Coverage for Sexual Abuse Claims and Expert
                  Witness, for Allowance of Compensation and Reimbursement of Expenses
                  for the Period from November 19, 2021 through January 26, 2022

                  Certification of Mark H. Kolman


                                                       /s/ James E. O’Neill
                                                       James E. O’Neill (DE Bar No. 4042)




1  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 West Walnut Hill Lane, Irving, Texas 75038.


DOCS_DE:238014.1 85353/002
              Case 20-10343-LSS     Doc 8564-5    Filed 01/28/22    Page 2 of 3




Boy Scouts – Fee App Service List                Email
Case No. 20-10343 (LSS)                          (Counsel to the Official Committee of
Doc. No. 228608v2                                Unsecured Creditors)
24 – Emails                                      Kurt F. Gwynne, Esq.
01 – First Class Mail                            Mark W. Eckard, Esq.
                                                 Reed Smith LLP
                                                 1201 N. Market Street, Suite 1500
(Counsel to the Tort Claimants’ Committee)       Wilmington, DE 19801
Richard M. Pachulski, Esq.                       Email: kgwynne@reedsmith.com;
Alan J. Kornfeld, Esq.                           meckard@reedsmith.com
Debra I. Grassgreen, Esq.
Iain A.W. Nasatir, Esq.                          Email
James E. O’Neill, Esq.                           (Counsel to the Future Claimants’
Pachulski Stang Ziehl & Jones LLP                Representative
919 N. Market Street, 17th Floor                 Robert S. Brady, Esq.
P.O. Box 8705                                    Edwin J. Harron, Esq.
Wilmington, DE 19801                             Young Conaway Stargatt & Taylor, LLP
Email: rpachulski@pszjlaw.com;                   Rodney Square
akornfeld@pszjlaw.com;                           1000 N. King Street
dgrassgreen@pszjlaw.com;                         Wilmington, DE 19801
inasatir@pszjlaw.com; joneill@pszjlaw.com        Email: rbrady@ycst.com;
                                                 eharron@ycst.com
Email
(United States Trustee)                          Email
David Buchbinder, Esq.                           (Counsel to JPMorgan Chase Bank, National
Hannah M. McCollum, Esq.                         Association)
Office of the United States Trustee              Matthew Ward, Esq.
844 King Street, Suite 2207                      Morgan Patterson, Esq.
Lockbox 35                                       Womble Bond Dickinson (US) LLP
Wilmington, DE 19801                             1313 N. Market Street, Suite 1200
Email: david.l.buchbinder@usdoj.gov;             Wilmington, DE 19801
hannah.mccollum@usdoj.gov                        Email: matthew.ward@wbd-us.com;
                                                 morgan.patterson@wbd-us.com
Email
(Counsel to the Debtors)                         First Class Mail
Derek C. Abbott, Esq.                            (Debtors)
Morris, Nichols, Arsht & Tunnell LLP             Steven P. McGowan
1201 N. Market Street, 16th Floor                Boy Scouts of America
Wilmington, DE 19801                             1325 W. Walnut Hill Lane
Email: dabbott@mnat.com                          Irving, TX 75038




DOCS_DE:228608.2 85353/002
              Case 20-10343-LSS       Doc 8564-5    Filed 01/28/22   Page 3 of 3




Email                                              Email
(Counsel to the Debtors)                           (Counsel to the Ad Hoc Committee of Local
Jessica C. Lauria, Esq.                            Councils)
White & Case LLP                                   Richard G. Mason, Esq.
1221 Avenue of the Americas                        Joseph C. Celentino, Esq.
New York, NY 10020-1095                            Wachtell, Lipton, Rosen & Katz
Email: jessica.lauria@whitecase.com                51 W. 52nd Street
                                                   New York, NY 10019
Email                                              Email: rgmason@wlrk.com;
(Counsel to the Debtors)                           jccelentino@wlrk.com
Michael C. Andolina, Esq.
Matthew E. Linder, Esq.                            Email
White & Case LLP                                   (Counsel to the County Commission of
111 S. Wacker Drive, Suite 5100                    Fayettte County (West Virginia))
Chicago, IL 60606-4302                             John C. Stump, Esq.
Email: mandolina@whitecase.com;                    Steptoe & Johnson PLLC
mlinder@whitecase.com                              Chase Tower, 8th Floor
                                                   707 Virginia Street East
Email                                              Charleston, WV 25301
(Counsel to the Official Committee of              Email: john.stump@steptoe-johnson.com
Unsecured Creditors)
Rachael Ringer, Esq.                               Email
Megan M. Wasson, Esq.                              (Fee Examiner)
Kramer Levin Naftalis & Frankel LLP                Justin Rucki
1177 Avenue of the Americas                        Rucki Fee Review, LLC
New York, NY 10036                                 1111 Windon Drive
Email: rringer@kramerlevin.com;                    Wilmington, DE 19803
mwasson@kramerlevin.com                            Email: justinrucki@ruckifeereview.com

Email
(Counsel to JPMorgan Chase Bank, National
Association
Kristian W. Gluck, Esq.
Norton Rose Fulbright US LLP
2200 Ross Avenue
Dallas, TX 75201-7932
Email:
kristian.gluck@nortonrosefulbright.com




DOCS_DE:228608.2 85353/002                   2
